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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 25-cv-1673

THE ESTATE OF STEVEN BACHAR
by and through its Personal Representative Susan Bachar;
EMILY BACHAR;
SARAH BACHAR

       Plaintiffs,

v.

JERRY WILLIFORD;
SILMARA DOS SANTOS;
ERIN HANNESSON RUARK

      Defendants.
_____________________________________________________________________________

       CIVIL RIGHTS COMPLAINT WITH REQUEST FOR TRIAL BY JURY
_____________________________________________________________________________

       Plaintiffs Estate of Steven Bachar, through its personal representative Susan Bachar, Emily

Bachar, and Sarah Bachar, by and through, HOLLAND, HOLLAND EDWARDS & GROSSMAN, LLC,

complain against Defendants and request a trial by jury as follows:

                                       I. INTRODUCTION

       1. Steven Bachar was a 58-year-old inmate at the Rifle Correctional Center, who died in

March 2024 as a result of Defendants’ deliberate indifference to his known serious medical needs.

       2. While incarcerated at Rifle Correctional Center (“RCC”), Mr. Bachar’s repeated pleas

for emergency medical care were wholly disregarded by medical staff.

       3. RCC medical staff, including Defendants, knew Mr. Bachar was at high risk for a heart

attack or other major cardiac event.
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       4. On March 12, 2024, Mr. Bachar declared a medical emergency because of his

symptoms that indicated a cardiac crisis. However, despite repeated requests for help, multiple

complaints of persistent, emergent cardiac symptoms, abnormal EKG, and abnormal lab results,

his obvious cardiac emergency went entirely ignored and untreated.

       5. Predictably, another inmate found Steven Bachar slumped over and unresponsive in his

cell four days later, on the morning of March 15, 2024. He died of heart complications, entirely

predictably and preventably, after days of asking for care.

       6. Mr. Bachar’s worsening heart condition and ischemia would have been detected, and

his death prevented, if he had been sent to the hospital.

                         II. JURISDICTION, VENUE, AND NOTICE

       7. This action arises under the Constitution and laws of the United States, including

Article III, Section 1 of the United States Constitution and 42 U.S.C. § 1983 and 42 U.S.C. § 1988.

The jurisdiction of this Court is further invoked pursuant to 28 U.S.C. §§ 1331, 1343, 1367, 2201,

and 2202.

       8. This case is instituted in the United States District Court for the District of Colorado

pursuant to 28 U.S.C. §1391 as the judicial district in which all relevant events and omissions

occurred.

                                          III. PARTIES

       9. At all times relevant hereto, the decedent, Steven Bachar, was a citizen of the United

States and a resident of the State of Colorado.

       10. The Estate of Steven Bachar was opened in Garfield County, where Steven Bachar

died. Susan Bachar is the duly appointed personal representative of the Estate of Steven Bachar,
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and at all times relevant hereto was a citizen of the United States and a resident of the State of

Colorado.

        11. At all times relevant hereto, Plaintiff Emily Bachar, daughter of decedent, was a citizen

of the United States of America and a resident of the State of California.

        12. At all times relevant hereto, Plaintiff Sarah Bachar, daughter of decedent, was a citizen

of the United States of America and a resident of the District of Columbia.

        13. Defendant Nurse Silmara Dos Santos is a Colorado Department of Corrections

(“CDOC”) employee and a Registered Nurse. At all times relevant to the subject matter of this

litigation, Ms. Dos Santos was a citizen of the United States and a resident of Colorado. At all

times relevant to the subject matter of this litigation, Ms. Dos Santos was acting under color of

state law in her capacity as a nurse for the CDOC and is sued for her deliberately indifferent actions

in this capacity.

        14. Defendant Nurse Supervisor Erin Hannesson Ruark is a Colorado Department of

Corrections (“CDOC”) employee and a Registered Nurse. At all times relevant to the subject

matter of this litigation, Ms. Hannesson Ruark was a citizen of the United States and a resident of

Colorado. At all times relevant to the subject matter of this litigation, Ms. Hannesson Ruark was

acting under color of state law in her capacity as a Nursing Supervisor for the CDOC and is sued

for her deliberately indifferent actions in this capacity.

        15. At all times relevant hereto, Defendant NP Jerry Williford was a citizen of the United

States and a resident of Colorado. Defendant Williford was an agent, employee, and/or




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subcontractor of Jackson & Coker1 placed in CDOC and acting under color of state law. As Mr.

Williford was employed by a private company, not a governmental agency, he is not entitled to

qualified immunity.

                                  IV. STATEMENT OF FACTS

        16. Steven Bachar was only 58 years old when he died from an entirely preventable and

painful cardiac emergency. At the time, he was incarcerated at RCC.

        17. It was well-documented throughout Mr. Bachar’s CDOC medical record that he had

high blood pressure (hypertension), high cholesterol (hyperlipidemia), and a family history of

coronary artery disease.

        18. Prior to being incarcerated, Mr. Bachar had a coronary artery scan that showed he had

calcification in his arteries – increasing his likelihood of heart attack or other major cardiac events.

        19. During his intake exam, Mr. Bachar told CDOC medical staff about the calcification in

his arteries. The CDOC provider noted these results in Mr. Bachar’s CDOC medical chart,

confirmed that he had hypertension and hyperlipidemia, and prescribed Lisinopril and

Atorvastatin.

        20. Mr. Bachar took his medications regularly, tried to eat a heart healthy diet, and went

for daily runs on the track at RCC.


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  Jackson & Coker Locumtenens, LLC, and Jackson Physician Search, LLC, f/k/a Jackson &
Coker Permanent, LLC, are Georgia companies with a principal street address of 2655 Northwinds
Parkway, Alpharetta, GA 30009. Their registered agent of service in Colorado is the Corporation
Service Company, 1900 W. Littleton Blvd, Littleton, CO 80120. At all times relevant hereto, a
Jackson & Coker company, doing business as Jackson + Coker Practitioner, LLC, employed
Defendant Jerry Williford and contracted with CDOC to provide medical staffing services to
inmates.

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       21. While Mr. Bachar was exercising on or around March 10, 2024, he started having chest

pains and shortness of breath.

       22. At approximately 9:30 in the morning on March 12, 2024, Mr. Bachar began feeling

lightheaded and declared a medical emergency.

       23. Mr. Bachar reported severe chest pain and shortness of breath to Nurse Silmara Dos

Santos – obvious and well-known signs of a cardiac emergency. He explained to Nurse Dos Santos

that he had started feeling lightheaded while running on the track the day before, that he routinely

went for runs, and that he had never experienced these symptoms before.

       24. Nurse Dos Santos reviewed Mr. Bachar’s medical record and was thus aware that he

was at high risk of suffering a major cardiac event as a 58-year-old man with hypertension,

hyperlipidemia, calcification in his arteries, a family history of coronary artery disease, and had a

change in condition with new cardiac symptoms.

       25. When someone has chest pain, shortness of breath, and lightheadedness like Steven

Bachar reported, they need to be immediately assessed to rule out cardiac involvement or sent to

the hospital. All reasonable people know that any complaint of chest pain or shortness of breath

be treated as a major medical emergency until such time as cardiac involvement has been ruled

out by a Physician, Physician’s Assistant or Nurse Practitioner.

       26. As a trained medical professional, Nurse Dos Santos was aware that these are

symptoms that indicate a potentially life-threatening condition, particularly in a patient with known

cardiac risk factors, and that time is of the essence in cardiac emergencies.

       27. Despite the obvious severity and life-threatening nature of Mr. Bachar’s symptoms,

Nurse Dos Santos did not immediately obtain an EKG or send Mr. Bachar to a hospital where an
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EKG and other diagnostics could be timely performed.

       28. Rather, she scheduled Mr. Bachar to have an EKG five hours later, at 2:30 pm, told

him to submit a written request for medical attention (“kite”) if his symptoms persisted or

worsened, and sent him away.

       29. Nurse Dos Santos performed an EKG that afternoon, which showed that Mr. Bachar’s

symptoms were, in fact, being caused by a serious cardiac emergency. Despite seeing these known

abnormal EKG results, Nurse Dos Santos still did not send Mr. Bachar to the hospital for the

emergency care he obviously required.

       30. Defendant Dos Santos completely abdicated her gatekeeper role when she knowingly

delayed Mr. Bachar’s access to obviously needed medical care.

       31. Nurse Practitioner Jerry Williford reviewed Mr. Bachar’s abnormal EKG results at

about 3:00 pm, and saw that Mr. Bachar had both a widened QRS and a right bundle branch block.

       32. NP Williford was not on site at RCC, was working remotely, and knew that Mr. Bachar

could not timely be seen by a doctor or nurse practitioner unless he was sent to the hospital. NP

Williford also knew that RCC had no capacity to treat or prevent heart attacks or other serious

cardiac issues. NP Williford knew that it was beyond the onsite medical staff’s scope of practice

to provide the care and treatment he needed because there were no providers onsite. He recklessly

decided to keep Mr. Bachar at RCC without ever seeing or speaking to his patient, let alone

performing a hands-on assessment.

       33. NP Williford remotely reviewed Mr. Bachar’s medical record, and charted that he did

not have any earlier EKGs to compare. He was thus obligated to treat any abnormal findings,

including the QRS prolongation and the right bundle branch block, as new developments and a
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serious change in condition.

       34. From his review of Mr. Bachar’s medical record, NP Williford knew at the time he

reviewed the EKG that Mr. Bachar had many cardiac risk factors including his age, sex, family

medical history of heart disease, arterial calcification, hyperlipidemia, and hypertension.

       35. As a trained medical professional, NP Williford knew at the time he reviewed the EKG

results that these abnormalities were obvious, neon light emergency findings, and that Mr. Bachar

would very likely experience a cardiac emergency without treatment.

       36. NP Williford also knew at the time he reviewed the EKG that new onset right bundle

branch block, especially in the context of Mr. Bachar’s symptoms, arterial calcification,

hyperlipidemia, hypertension, and family medical history, indicated he was very likely already

experiencing a distressing, painful, and potentially life-threatening cardiac emergency.

       37. As a trained medical professional NP Williford knew at the time he reviewed the EKG

that a 58-year-old, symptomatic, male patient with new onset QRS prolongation, new onset right

bundle branch block (“RBBB”), hypertension, hyperlipidemia, and a family history of coronary

artery disease (“CAD”) needs to be immediately hospitalized for a complete cardiac workup and

treatment that far exceeded RCC’s capabilities.

       38. Defendant Williford charted that the abnormalities on Mr. Bachar’s EKG were

probably related to his hypertension. He was thus consciously aware that Mr. Bachar was

experiencing a major change in condition, and that he was at a substantial risk of experiencing a

major, potentially fatal cardiac event if not timely evaluated and treated at a hospital.

       39. Despite knowing from the medical record that Mr. Bachar had several cardiac risk

factors, and was at significant risk of suffering a life-threatening cardiac emergency, NP Williford
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refused to send Mr. Bachar to the hospital where the underlying causes of the abnormal EKG could

have been investigated, and where Mr. Bachar could have received timely, life-saving care.

       40. Had Mr. Bachar been immediately hospitalized, his cardiac emergency would have

been detected and his untimely death very likely prevented.

       41. Rather than immediately send Mr. Bachar to the hospital for the higher-level evaluation

and treatment he obviously required, NP Williford recklessly chose to keep Mr. Bachar at RCC,

get some blood work, and follow up when the lab results were available.

       42. At the time he decided to do nothing more than order routine labs, NP Williford was

aware that it would take days to receive the results.

       43. Despite knowing from his risk factors, symptoms, and abnormal EKG that Mr. Bachar

faced a substantial risk of suffering a life-threatening cardiac event in the near future without

intervention, NP Williford did not even order these labs “STAT” or include an order for a cardiac

troponin test, which is integral to the assessment and diagnosis of patients with possible acute

coronary syndromes.

       44. NP Williford knew that ordering labs would not do anything to prevent Mr. Bachar

from suffering a heart attack or other major cardiac event.

       45. He recklessly did not even order serial EKGs, which would show progression of heart

issues and was the only cardiac assessment tool available at RCC.

       46. NP Williford consciously disregarded the substantial risk that Mr. Bachar was already

in the throes of a life-threatening cardiac event and did not take any reasonable measures to

eliminate cardiac causes of his symptoms or otherwise abate the harm. He completely abdicated

his gatekeeper role in denying Mr. Bachar access to the hospital level care he obviously required.
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       47. Mr. Bachar returned to the medical unit the next day, March 13, 2024, to have his blood

drawn by Nurse Dos Santos. Nursing Supervisor Erin Hannesson Ruark was also present, and had

reviewed Mr. Bachar’s medical record and was aware of its contents. He told Defendants Dos

Santos and Hannesson Ruark that he was scared that he might die, and reported that he was still

experiencing lightheadedness, shortness of breath, and chest tightness. He asked what the plan

was, what his EKG showed, and when he could see a doctor.

       48. Persistent chest pain or tightness, shortness of breath, and lightheadedness are widely

known to be textbook symptoms of cardiac emergency. These symptoms are especially alarming

in a patient like Mr. Bachar, who had diagnoses of hypertension and hyperlipidemia; a family

history of heart disease; an abnormal EKG the day before; and ongoing serious symptoms of a

cardiac emergency.

       49. It is also obvious to lay people that chest pain and/or shortness of breath require

immediate medical evaluation and attention. CDOC staff are trained and have a clear constitutional

duty to immediately refer complaints of chest pain to a qualified medical professional.

       50. Defendants Dos Santos and Hannesson Ruark are Registered Nurses who cannot

diagnose or initiate treatment without a doctor’s order. They are required by their licensure to

report any abnormal nursing findings to a provider capable of diagnosing, and to escalate any

patient who needs a diagnosis quickly, or whose needs are likely to exceed RCC’s capabilities, to

the hospital. Everyone, including Defendants Dos Santos and Hannesson Ruark, knows that a

person with Mr. Bachar’s risk factors, symptoms, complaints, and EKG results must be evaluated

quickly by a doctor; not warehoused in a prison without any treatment or even monitoring.

       51. Despite the obvious life-threatening nature of Bachar’s symptoms, and although Nurses
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Dos Santos and Hannesson Ruark knew that Mr. Bachar had already been experiencing these

symptoms for days, they did not contact a doctor or send Mr. Bachar to the hospital for higher-

level evaluation and treatment. Rather, Nurse Dos Santos instructed him to fill out a kite to

schedule a follow-up appointment.

         52. As nurses, Defendants Dos Santos and Hannesson Ruark were acting as gatekeepers to

the level of care Mr. Bachar needed, and their denial of access to treatment worsened his suffering

and caused his death.

         53. On March 14, 2024, Mr. Bachar filled out a kite, as instructed, reporting that he had

been experiencing more shortness of breath and chest tightness.

         54. Nursing Supervisor Hannesson Ruark received and reviewed this kite. Again, rather

than immediately sending Mr. Bachar to the emergency room, Ms. Hannesson Ruark recklessly

and unilaterally determined that Mr. Bachar could wait 1-2 weeks to be seen.

         55. She scheduled him to be seen by a provider on March 21, 2024 – a full week later.

         56. Also on March 14, RCC medical staff, including Defendants Dos Santos and NP

Williford, received and reviewed Mr. Bachar’s lab results, which also contained abnormal results

and further evidenced that Mr. Bachar was experiencing a serious change in condition and medical

emergency that exceeded RCC’s capabilities to treat. These Defendants again abdicated their

gatekeeper duty in the face of this information.

         57. Despite days of mounting evidence that Mr. Bachar was experiencing a heart issue

which far exceeded the RCC’s capability to evaluate and treat, nobody reacted at all to Mr.

Bachar’s abnormal lab results and other alarming signs of an imminent, potentially fatal, cardiac

event.
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       58. All of the Defendants were consciously aware that Mr. Bachar needed to be urgently

hospitalized, but none took any steps to send him to the emergency room. Rather, they disregarded

Mr. Bachar’s worsening condition, doing nothing as he deteriorated and continued to ask for help.

       59. In doing so, Defendants were deliberately indifferent in their gatekeeping role,

preventing Mr. Bachar from getting treatment for his known and obvious serious medical needs.

       60. Tragically, Mr. Bachar died from treatable ischemic heart disease due to coronary

artery atherosclerosis that night or in the early morning hours of March 15, 2024.

       61. At approximately 6:15 am on March 15, 2024, two inmates found Mr. Bachar thrashing

around and then slumping over and becoming unresponsive in his cell. One began performing CPR

while the other alerted RCC staff. Mr. Bachar suffered a traumatic resuscitation effort, finally

succumbing to death after receiving CPR for more than an hour and a half.

       62. By ignoring Mr. Bachar’s repeated requests for urgent medical attention, and numerous

objective indicia that he was experiencing a cardiac emergency, these Defendants were

deliberately indifferent. Despite presenting with textbook symptoms of a cardiac emergency and

repeatedly requesting higher-level medical care, Defendants denied Mr. Bachar access to medical

personnel and facilities capable of evaluating and treating his known serious medical condition.

       63. By refusing to take urgent action, Defendants Dos Santos, Williford, and Hannesson

Ruark, denied Mr. Bachar known and necessary medical treatment for his ongoing and fatal cardiac

emergency, and prevented Mr. Bachar from getting to other medical providers who could help

him, causing Mr. Bachar to suffer extreme fear and pain for hours on end and a preventable

untimely death.

       64. The Garfield County Coroner’s Office confirmed on autopsy what Mr. Bachar had
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reported on intake to the Department of Corrections – his arteries were badly occluded. Had he

been hospitalized before March 15, 2024, this occlusion could have been promptly cleared or

treated, and Mr. Bachar’s death very likely avoided.

       65. Further discovery may reveal other actors who received and ignored Mr. Bachar’s

numerous pleas for medical attention.

       66. As a result of the conduct complained of herein, Mr. Bachar suffered several days of

severe pain, distress, and, ultimately, death.

       67. Prior to the events giving rise to his incarceration, Mr. Bachar was a successful attorney

and member of the Denver business and political community. He was a voracious reader, avid

outdoorsman, and proud veteran. He was quick witted and cared deeply about his country and local

community.

       68. During his incarceration, Mr. Bachar was a model inmate. He was sincerely committed

to thinking deeply about his actions, the harm he caused, and how to realign himself with his best

characteristics. He worked hard to right his past wrongs and find personal redemption – routinely

writing his pastor, friends, and family members. He was an enthusiastic member of the RCC choir

and had been approved for community corrections in the near future.

       69. Most of all, Steven Bachar was a committed and loving father. Notwithstanding his

incarceration, he remained a cherished member of a close-knit family. In addition to his many

friends, Mr. Bachar left behind two loving daughters, Emily & Sarah, whom he spoke to daily:




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       70. Defendants Dos Santos, Hannesson Ruark, and Williford are jointly and severally liable

for this continuous pattern of deliberately indifferent care and each Defendant, by their respective

identified actions, significantly causally contributed to this entirely preventable death.

                                  V. CLAIMS FOR RELIEF

                                FIRST CLAIM FOR RELIEF
                                 Violation of 42 U.S.C. § 1983
        Deliberately Indifferent Medical Care in Violation of the Eighth Amendment
                            (Plaintiff Estate Against All Defendants)

       71. Plaintiff Estate, through Susan Bachar as Personal Representative, hereby incorporates

all other paragraphs of this Complaint as if fully set forth herein.

       72. 42 U.S.C. § 1983 provides that:

       Every person, who under color of any statute, ordinance, regulation, custom or
       usage of any state or territory or the District of Columbia subjects or causes to be
       subjected any citizen of the United States or other person within the jurisdiction
       thereof to the deprivation of any rights, privileges or immunities secured by the
       constitution and law shall be liable to the party injured in an action at law, suit in
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       equity, or other appropriate proceeding for redress . . .

       73. Plaintiff is a citizen of the United States and Defendants to this claim are persons for

purposes of 42 U.S.C. § 1983.

       74. Mr. Bachar had a clearly established right under the Eighth Amendment to be free from

deliberate indifference and reckless disregard for his known serious medical needs as well as from

cruel and unusual punishment.

       75. As of the time of Mr. Bachar’s medical emergency, it was clearly established delaying

or denying treatment to a patient with unexplained chest pain or other obvious symptoms of a

potentially serious cardiac condition is deliberately indifferent.

       76. Each Defendant was acting under color of state law at all times relevant hereto.

       77. Each Defendant is individually liable to the Plaintiff for violation of 42 U.S.C. § 1983.

       78. Each Defendant hereto recklessly and knowingly denied medical treatment for known

serious medical injuries. Defendants hereto were also deliberately indifferent in delaying and

denying Mr. Bachar transport to a medical facility to obtain higher-level medical care. None of

the Defendants could treat a heart emergency on their own, and each had a constitutional obligation

not to deny and delay transport to the appropriate level of medical provider for the injury.

       79. Defendant Dos Santos was deliberately indifferent to Mr. Bachar’s serious medical

needs as described in the Statement of Facts.

       80. Not only was the severity and life-threatening nature of Mr. Bachar’s medical condition

obvious, but Defendant Dos Santos was consciously aware that Mr. Bachar was experiencing

lightheadedness, chest pain and shortness of breath. These are widely-known to be serious, life-

threatening symptoms requiring urgent medical care. Defendant Dos Santos was further
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consciously aware that Mr. Bachar’s EKG was abnormal, and that RCC did not have the resources

to further evaluate and treat Mr. Bachar’s cardiac emergency. She nonetheless made no effort to

get Mr. Bachar the emergency medical care he obviously required.

       81. Even when she learned that Mr. Bachar’s blood labs were also abnormal, Defendant

Dos Santos completely abdicated her duties as a gatekeeper and made no effort to escalate Mr.

Bachar to a hospital capable of treating him.

       82. Defendant Williford was deliberately indifferent to Mr. Bachar’s serious medical needs

as described in the Statement of Facts.

       83. Despite being consciously aware that Mr. Bachar’s symptoms, EKG, and labs indicated

that he was experiencing a cardiac emergency, and that RCC did not have equipment or personnel

capable of evaluating and treating this cardiac emergency, Defendant Williford made absolutely

no effort to get Mr. Bachar the medical care he obviously and desperately needed.

       84. Defendant Hannesson Ruark was deliberately indifferent to Mr. Bachar’s serious

medical needs as described in the Statement of Facts.

       85. Not only was the severity and life-threatening nature of Mr. Bachar’s medical condition

obvious, but Defendant Hannesson Ruark was consciously aware that Mr. Bachar was

experiencing persistent lightheadedness, chest pain and shortness of breath. These are widely

known to be serious, life-threatening symptoms requiring urgent medical care. Defendant

Hannesson Ruark was further consciously aware that Mr. Bachar’s EKG was abnormal, and that

RCC did not have the resources to further evaluate and treat Mr. Bachar’s cardiac emergency. She

nonetheless made no effort to get Mr. Bachar the emergency medical care he obviously required.

       86. Defendants Hannesson Ruark and Dos Santos were also aware that they were
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prohibited by the scope of their license from diagnosing or ruling out serious causes for the

symptoms that they knew Mr. Bachar was experiencing, and that no doctor was onsite to even

evaluate Mr. Bachar, but recklessly arrogated to themselves the right to block his access to

obviously needed specialized emergency treatment.

       87. Defendants’ actions indicate a willful and wanton disregard and deliberate indifference

to Mr. Bachar’s civil rights.

       88. Defendants, as willful participants in a joint activity, actually knew of Mr. Bachar’s

serious medical needs and deteriorating condition and nonetheless, with deliberate indifference,

decided not to send him to the hospital for obviously necessary urgent medical care. They did so

despite being aware of Plaintiff’s known serious medical needs and recklessly disregarding a

substantial risk of physical harm and death.

       89. It was clearly established at the time of Mr. Bachar’s obviously life-threatening

symptoms and test results that the complained of conduct in denying and delaying access to

specialized emergency treatment is deliberately indifferent.

       90. While Defendant Williford is not a governmental employee and therefore is not entitled

to qualified immunity, his conduct was also clearly established at the time to be unconstitutional.

       91. As a direct and proximate result of these Defendants’ unlawful conduct, Plaintiff Estate

has suffered injuries and losses, including the death of Mr. Bachar, entitling it to recover his

compensatory and special damages, including for loss of constitutional rights, loss of enjoyment

of life, pain and suffering, loss of relationships, and permanent lost earnings and earnings capacity

for his expected productive working lifetime, all in amounts to be proven at trial.

       92. Plaintiff Estate is entitled to attorneys’ fees and costs pursuant to 42 U.S.C.§1988,
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prejudgment interest and costs as allowable by federal law.

          93. In addition to compensatory, economic, consequential and special damages, Plaintiff is

entitled to punitive damages against each Defendant under 42 U.S.C. § 1983, in that the actions of

each of these Defendants were undertaken maliciously, willfully or with a reckless or wanton

disregard of the constitutional rights of Plaintiff.

                                 SECOND CLAIM FOR RELIEF
                                         Wrongful Death
             (Plaintiffs Emily Bachar & Sarah Bachar against Defendant Jerry Williford)

          94. Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set forth

herein.

          95. At all times relevant to this action, Mr. Bachar was under the medical responsibility,

care, and treatment of Defendant Jerry Williford.

          96. Defendant Williford had a duty to provide care to inmates at RCC, including Mr.

Bachar.

          97. Defendant Williford had nurse practitioner-patient relationship with Mr. Bachar and

was acting within the scope of his employment.

          98. With respect to the care and treatment of Mr. Bachar, Defendant Williford owed him a

duty to exercise the degree of care, skill, caution, diligence, and foresight exercised by and

expected of medical personnel in similar situations. Through his actions and omissions, he

breached the respective standards of care and was negligent in failing to properly assess, monitor,

treat, and care for Mr. Bachar, despite the fact that he was in obvious need of immediate medical

attention.

          99. These duties of care are informed by state law. Under C.R.S. § 16-3-401,
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“prisoners arrests or in custody shall be treated humanely and provided with adequate food, shelter,

and, if required, medical treatment.” The provision of adequate medical treatment and humane

care is a statutory obligation.

        100.    As a direct and proximate result of these Defendants’ unlawful acts and omissions,

Plaintiffs Emily and Sarah Bachar have suffered damages, losses and injuries in an amount to be

determined by the jury at trial. These damages include inter alia, upset, grief, loss of their father’s

companionship, impairment in the quality of their lives, anger, depression, lost earnings and

financial benefits they would have reasonably been expected to receive from their father had he

lived, and all other purely economic and non-economic damages under the Colorado Wrongful

Death Act.

        101.    Plaintiffs here to give notice that they may seek leave to amend the complaint to

add a remedy of punitive damages on the state law claims upon completion of substantial

discovery.


                                   VI. PRAYER FOR RELIEF

        Plaintiffs pray that this Court enter judgment for the Plaintiffs and against each of the

Defendants and enter the following relief:

  a.    All available compensatory, non-economic, consequential, special, including, but not

        limited to, for pain and suffering, physical, mental and emotional distress, loss of life, all

        other non-economic and economic damages available under the law;

  b.    Punitive damages on all federal claims as allowed by law and in an amount to be

        determined at trial against individual Defendants;


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  c.   Attorneys’ fees and costs;

  d.   Pre- and post-judgment interest as appropriate; and

  e.   Any further relief this Court deems just and proper.

                       PLAINTIFFS REQUEST A TRIAL BY JURY.

       Respectfully submitted this 28th day of May, 2025.

                                            /s/ Rachel Kennedy
                                            Rachel Kennedy
                                            Anna Holland Edwards
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